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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


   E.K. and S.K., minors, by and through their
   parent and next friend LINDSEY KEELEY;
   O.H., S.H., and H.H., minors, by and through         Case No. 1:25-cv-00637-PTG-IDD
   their parent and next friend JESSICA
   HENNINGER; E.G., a minor, by and through             Hon. Patricia Tolliver Giles
   his parent and next friend MEGAN
   JEBELES; E.Y. and C.Y., minors, by and
   through their parent and next friend ANNA
   YOUNG; L.K., L.K., and L.K., minors, by
   and through their parent and next friend
   ANNA KENKEL; and M.T., a minor, by and
   through her parent and next friend NATALIE
   TOLLEY,

                              Plaintiffs,

   v.

   DEPARTMENT OF DEFENSE
   EDUCATION ACTIVITY; DR. BETH
   SCHIAVINO-NARVAEZ, in her official
   capacity as Director of the Department of
   Defense Education Activity; and PETER
   BRIAN HEGSETH, in his official capacity as
   Secretary of Defense,

                              Defendants.


                  DECLARATION OF ANNA KENKEL IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


  I, Anna Kenkel, declare as follows,

         1.     I am more than 18 years old, competent to be a witness, and the facts set forth in

  this declaration are based on my own personal knowledge.

         2.     This declaration is made in my personal capacity as a parent, and it is not intended


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  to, nor does it represent the position of the United States Government, the Department of Defense

  (DoD), or any of the Armed Services.

           3.    I am married to an active-duty service member stationed at the Misawa Air Base in

  Japan.

           4.    We have four children, three of whom currently attend DoD Educational Activity

  (DoDEA) schools on the Misawa Air Base. We have had at least one child in a DoDEA school

  since 2017. Currently, L.K. 1 is in fourth grade and L.K. 2 is in sixth grade at Sollars Elementary

  School. L.K. 3 is in eighth grade at Edgren Middle High School. My youngest child is two years

  old and not yet in school.

           5.    My two youngest daughters, L.K. 1 and L.K. 2, do gymnastics and drama. Their

  DoDEA teachers are supportive of their interests. My oldest daughter, L.K. 3, is a passionate and

  involved student. She is a member of the student counsel, participates in drama, and she plays

  tennis. All of these activities, with the exception of gymnastics, are run through my daughters’

  DoDEA schools.

           6.    Until recently, my family has had a great experience with DoDEA schools. My

  daughters love school and are passionate about learning. I have also experienced the high-quality,

  well-rounded DoDEA education firsthand: I attended a DoDEA elementary school in The

  Philippines, as a child, and I worked as a DoDEA teacher in Japan from 2009 through 2010. I also

  currently volunteer as the Secretary for the Parent Teacher Organization at Sollars Elementary. As

  PTO Secretary, I help run book fairs, fundraisers, and other school events, often collaborating with

  teachers and others from the school community. My role provides me visibility into the school,

  and as a result, I am very familiar with the contents of the school library and the educational

  programming at the school.



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         7.      One of the things I have always appreciated most about DoDEA is the high value

  placed on diversity and learning from difference. We are part of a school community full of people

  who appreciate the opportunity to live overseas and learn about and celebrate a variety of cultures.

  Many parents, including myself, choose to send their children to DoDEA schools for that type of

  enrichment. The DoDEA schools I have had experience with as a student, parent, teacher, and

  volunteer have celebrated their multi-culturalism. Because of the current administration’s attacks

  on all things Diversity, Equity, and Inclusion (DEI), this rewarding and appealing aspect of

  DoDEA schools and students’ experiences is being harmed.

         8.      Earlier this year, the White House issued three Executive Orders that DoDEA has

  cited as justification for the changes we are starting to see in our school. Those Executive Orders

  are Order No. 14168, Defending Women from Gender Ideology Extremism and Restoring

  Biological Truth to the Federal Government; Order No. 14185, Restoring America’s Fighting

  Force and Order No. 14190, Ending Radical Indoctrination in K-12 Schooling (collectively, the

  “Executive Orders”).

         9.      We have since learned that many high-quality books would be removed from

  DoDEA schools, purportedly in compliance with these orders. My daughter in eighth grade (L.K.

  3) is interested in reading some of the books. On the day we found out the books would soon be

  removed, L.K. 3 tried to check out some of the books from the school library. The school librarian

  scolded her, refusing to allow her to check out the books. This caused my daughter great distress.

  Since then, she has not been able to check out those books, which included The Giver by Lois

  Lowry, Nineteen Eighty-Four by George Orwell, and Ground Zero by Alan Gratz. These books

  have since been removed from the school library and they have been unavailable since February

  2025. Her favorite book, A Handmaid’s Tale by Margaret Atwood, has also been removed.



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         10.     L.K. 1 and L.K. 2 have also already had dozens of books purportedly related to

  “gender ideology” removed from their school library. Although I have not been able to verify all

  of the contents, I received a list of the books removed and have been able to confirm that at least

  some of the books on this list are no longer in the library, including, for example, No Truth Without

  Ruth: The Life of Ruth Bader Ginsberg and Finding Wonders: Three Girls Who Changed Science.

  These are age-appropriate books that teach children about prominent historical figures’ lives. They

  are being removed simply because the historical figures are women. A true and correct copy of the

  list of removed books I received is attached as Exhibit A.

         11.     L.K. 3 (my eighth grader) is an avid reader and has been very upset by the removal

  of books and curricular materials from her school. She helped organize and participated in two

  walkouts to protest the changes at her school. She was the only middle school student to participate

  in the second walkout. After her participation, L.K. 3 was called into the principal’s office and

  reprimanded.

         12.     My daughters’ schools have also made changes to the curriculum in response to the

  Executive Orders. For example, L.K. 1 (my fourth grader) has already had curricular materials

  relating to immigration removed from her class. Lesson 3 titled “The Peopling of the United

  States” has been removed. The reading associated with this lesson was A Nation of Immigrants by

  John F. Kennedy.

         13.     L.K. 2 (my sixth grader) has also suffered irreparable harm from having important

  information withheld from her health curriculum. She is being denied access to critical information

  about physical wellbeing and health. These changes could also affect my other daughters. It is my

  understanding that the Physical Education Teacher at Edgren Middle High School was required to

  teach sexual education, and he refused to teach the lesson because of his religious beliefs.



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            14.   The curricular changes extend to cultural celebrations at my daughters’ DoDEA

  schools as well. Previously, multicultural holidays were integrated into the DoDEA curriculum.

  For example, at the end of the year, the students have historically put together a cultural

  performance. This was a highlight for students and families. Even though the celebration often

  focused on Hispanic culture, all students participated. These opportunities for cultural exchange

  and engagement are some of my favorite things about DoDEA schools.

            15.   This year, after the Executive Orders, the teachers at Sollars Elementary School

  took down a bulletin board celebrating Black History Month and Women’s History Month. Many

  cultural celebrations were also cancelled. The only cultural celebrations allowed have been those

  considered to be “host nation” celebrations. A packet on Black history was also removed from the

  curriculum for L.K. 2. This packet included a resource titled “My Friend in Learning Professional

  Learning - New for You Seasonal Bundle: Black History Month 2025.” My daughters are being

  denied the opportunity to learn about the history of historically marginalized people in the United

  States.

            16.   My daughters have also been particularly negatively impacted by the cancellation

  of Holocaust Remembrance Day. My husband is half-Jewish and has relatives who were killed

  during the Holocaust. I am worried that my daughters and their classmates will miss out on

  important historical information and lose the chance to see their family history reflected in the

  curriculum.

            17.   Because my youngest child is not yet enrolled in school, he has not been directly

  impacted by the book and curriculum removals at DoDEA schools. He is biracial, however, and

  the cancellation of Black History Month and likely cancellation of Juneteenth celebrations has

  negatively impacted our family acutely. It is very important to our family to learn about and



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  celebrate Black history and culture. In the past, DoDEA schools have celebrated Juneteenth. I have

  requested information on whether Juneteenth will be celebrated this year but have not yet received

  an answer.

         18.     My three older children are very upset by their schools’ recent refusal to recognize

  heritage months and restrict their access to culturally inclusive books and materials. I believe that

  the removal of these curricular materials, the cancellation of Black History Month and similar

  programs, and the removal of books has severely impacted all of my children’s opportunity to

  obtain a high-quality education at their DoDEA school.

         19.     Individual school leaders seem to be doing their best to serve their students and

  continue providing a well-founded education. However, I continue to worry that the President’s

  Executive Orders will require the removal of more high-quality, age-appropriate materials and

  books from my children’s schools.

         20.     The changes have been made without notification, transparency, or input from

  parents, which I believe is a violation of DoDEA’s legal obligations. In early March 2025, I

  submitted a Freedom of Information Act (FOIA) request to DoDEA seeking information regarding

  the recent book and curriculum removal reviews and potential removals of curricula and library

  materials in DoDEA schools. I received acknowledgment of my request from the FOIA office.

  Although I was promised a response within 20 days, as required by the administrative rules of the

  FOIA program, I have not received any of the requested information. Attached as Exhibit B are

  true and correct copies of my correspondence with the FOIA office regarding this request.




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